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 V.                                                                          MO'l10N FOR SENT.ENCE
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                                                                             18 ltS.C. § 3582:fo)(l}{AI
                                                                             (Compassionate Rcelease)
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18 US.C:. § 3582{c){l){A} aJfows ~•o,u torn~ this motiori {1) after you hav~ fuU,1 e~"iaustt!d aH
administrative rights to appeal ti faihJre of the Bu1e..in,1 of Prise.ms to b:ririg a rr1otic.m o,n vo,ur
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make a motiori on yo1.Jr behailf, wh1cheve,r is uarUe-r.

Pleas~ 1nch.ide, copii!.".s of any writte,n corr~sp,ondence to and f mm the Sur@a:u of P'risons related
to your motion., indodffng your \Witt@'.fl rnqu,est tc the Warden arl!d records of any de--nJaf from
the Surn'tlu of Prisons.




'The requk~ments for this compa:ssionat11 release motlo,n being flied with the wort difft!!r from
the r~uiremeerits that you would use to submit a- comp.asstonate r@l?ase fll';quest to the Bureau
of Prisons. This form s.houfd only be used for a cornpassicma.te release motion made to the
court. tf you are submitting a compasslonatl! rnfeas~ request to th~ Bureau of Prisons, p·leaSaf!
review and foUlOw the Bureau -of ?risons program statement.

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of th£" institution 1,.,+1erc vou are inca:r-ref'ated?

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\Va£ vour request      denied by the W atde:n?

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     L No. I did not reecl"e a f<'"<}''"""' )'<-'L                     ~_          •         ~-                '1, { ~ "\ IJ. \
m.       GROUNDS FOR RELEASE                                          ~ OW,"-'<-- /lb                                 AA F"'Se.
Ple2'tse U:5€ th€: c:heckbox~s b€!'10·11 to state the grounds for your r>EtQUlli!St          for e:omp-as.stoMte 0,S c:R ·7 /& /';) \
r-alease. Ple~:;e: sit~f'.ct au gr,.)urids that a;ppi)' to you. Yoo n'!;.!y ,attach additior••d sh~~ts if
ntrte:ssary to further d~sct'Ibit?; the reasoos. supporting you;r motion. You may also att-lch any
rselevant ,e:xhibits.. Exhibits may inciude medical records if your resq.uast is b.as~d on a rr,ed!c.ai
cooditioo, (>f. ;tai~m•nt from. fumMy member                o,   Sf'"""°'. ,(',"-.L..'.l.'   \{\I\..C}v,,,"'   C?J~s)J'\~ ·Y-\ \)
A.. A:re- you 70 years old or older?                                               Q

if you answered rio, go to S:ectkm B below. You do not nee-d to fill out Section A.

If you ansivered yes, you may oo eligible. for release: t.H1der 18- U,S.C. § 3582{cM1HA){fil) if you
meet two a;dditio.rial criteria. ?leas.e tH1s1tver the following q,tHl!stions so the Court cari det~tn)iM
if you are eligible fo,r rel@ase _under t'nis se:ction of the statute.
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Has the Dir~~tclr of the Bmeau oi Prisons dct.ermincd :that vou are not a dan~er
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saf-ei.'v.. oJ am'           ),                              .



    f"T    No.

B. Do vou believe therf' .ate other exh"ao:.rdina..•'ll and. <:omp.clline reasons for vou.r
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    release?




lf yer.u answer~d "Yes,/' pleas~ check an box'€:s. that appty so the Cour1 can det~rtY.iM ·whether
vou are- etigibf,e fer f:e!le-a:se under 18 U.S.C. § 3.582tc}(1){A){O.



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IV.    ATfACH.MEN TS AND REQUES1" TO SE..\.t

Pleas.e list atw documetits you am attaehing to this motion. A proposed r~iease pian is itiduded
a:s an attachrnent. You ar@'. 1N'iicot1rng€!d but not raquire:d to complete tM proposed mlease.- p,tan.
A cove:r page for th~ submission .of medical r@:cords and dddlUo!\aJ medlca:I lrlforma.ticm is also
inc lud:e,d as an attachm~rit to this motion..Again, >t•ou :ar~ riot required to provide meceiic.1ll
retords and addlth:inaf rnedie:at information. for each dow,mi!'!nt you are attaching to thls
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V.            REQUEST fOR AfPOl!\1 f'MENT OF COt:NSEl.



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